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AKERKVARNER | IHI

02 November 2009 Cameron LNG, LLC Project
AK|IHI Job No. H0403600 / 5021-430
Response Required: Yes

Greg Presswood

McLarens Young International

Executive General Adjuster/Branch Manager
10235 West Little York, Suite 170

Houston, TX 77040-3253

Your Ref.:
Our Ref: AK{IHI-TP-0095

insured: Sempra Energy and other Named Insureds, including but not limited to
Aker Kvaerner / IHI

Insurers: National Union Fire Insurance Company of Louisiana
AEGIS Insurance Services, Ltd.
Allianz Global Risks US Insurance Company
Commonwealth Insurance Company
Navigators Special Risk, Inc.
Arch Specialty Insurance Company

Policy No.. WRS05119010B

Policy Period: September 15, 2005 — August 4, 2009

Dear Greg:

Enclosed please find the Sworn Statement in Proof of Loss (‘Statement’) signed by Aker
Kvaerner|IHI subject to the following conditions:

The second paragraph and item 1 of the Statement use the phrases “direct physical loss or
damage" or “losses directly caused", respectively. Those phrases are not used in the insuring
agreement of the Policy. As a result, Aker Kvaerner|IHI is signing the Statement subject to the
condition that the insuring agreement of the Policy (as extended) and not those phrases establishes
the obligations of Insurers to provide coverage.

The Statement contains reservations of rights for Insurers but does not contain reciprocal
reservations of rights for Aker Kvaerner|IHI. As such, Aker is signing the Statement subject to the
condition that Aker Kvaerner/IHI] reserves any and all of its rights under the Policy and is not
acquiescing in any position of Insurers by signing the Statement.

The Statement refers to Sempra Energy Cameron LNG (“Sempra”) as “Principal Insured.” However,
the Policy does not identify Sempra as “Principal Insured.” As such, Aker is signing the Statement

 

AKER KVAERNER | IHI

3600 Briarpark Drive Tel: (713) 988-2002
Houston, Texas 77042 Fax: (713) 772-4673 EXHIBIT

 
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02 November 2009
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subject to the condition that Aker Kvaerner|IHI is an insured under the Policy with the same status
and rights as Sempra.

en

tO R on,

‘Seott Ray
Business/Risk Manager

cc: H. Suzuki; M. Schioz; T. Santoro

 

AK|IHI
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SWORN STATENENT IN PROOF OF LOSS

 

 

 

 

 

$400,000,000 {as sublinited) | Sce Schedule 4 .
Amaunt of Policies at Time of Loss Policy Numbers
Septermber 15, 2008 cece cinerea, AMOUSION, TR ee
Date Issued Agency at
Aupust 1 2009 Wikis _
Date Expires Agent

To the various Insurers, Underwriters, Names and syndicates at Lioyds Landon and all insurance companics,
wherever located, that vither issued ar severally subscribed, each in its own proportionate share (further defined
below as “Insurers”), lo cach and all of those certain Policies issued pursuant to a quota share imsurance program
between Insureds (as further described below) and Insurers as is set forth mare filly on attached Schedule “A.”

At the time of Joss, by the above indicated Policies of insurance you insured Sempra Enerpy, Cameron LNG,
C’Principal insured”) and Aker Kvaerner ll Closured”) ugimest Coastrucuon AN Risk of direct physical loss or
damage except as excluded or limited with respect te the construction of the Cameron LNG Receiving ‘Terminal
Project according to the terms and conditions of the said Policies and all forms, endorsements, transfers and
assigninents and altachiments thereto,

    

   

 

I, Fime and Origins Named Windstorm fosses direedy citused by Hurricane fke's landdall und storm surge
the hour of 2:10 2m, on the 13 day of September, 2008.

2. Occupancy: ‘The location described, or comtuming the property described, was occured at the time of the
joss as follows, and jbr ne other purpose whatever The Cameron LNG Recering Termini! Project focated: in
Usexberry, Luutpiani.

 

3. Tithe and foterests Acthe time of the loss the interest of your lnsuted in the property described herein was
as intended. Nu viher person ar persuns had aay mterest therein or encumbrances thereon except: None

4, Changes: Since the said Polos were issued there has been po ussignmentthereal, or change of anurest,
Usy Hcetpancy, possession, lagation or exposure of the property deseribed, except: No exceptions.

§. Total Insurance: The total amount of msurinee applicable to the aforementioned toss upon the property
described by these policies and which is appheable to the loss presented under these Policies was at that time of loss,
US $400,000,000.00, subject to appheable subliinits us set forth in the policies, and as more particularly specified in
the apportionment auached under Schedule “A™, besides which there was ao pelicy or other contract of insurance,
written or oral, sald on invalid.
6. Vhe Aciual Cash Value of sakl proper tA ae
7. The Whole Less and Damage was | ee ee | Bo be determined
The parGal Amount Clainied for purposes atu ads ance payment US $6,000,000 00
under the policies ientiticu in Schedule A" yy Unallocsted Advance Payment

 

  

atthe Gane af the loss was

   

   

 

 

 

 

Q, Deductible. The appheable deductible atthe Gime of loss has deen esGiblished at US $9,000,000.00,

1g, Pavment. The umidlocated advance paynrent sec forth heres shall be paid by check or wire transfer to
Aker KyuermerHl (as assigned Loss Payee ptrsuant to the provisions of General Conditions, Section 11. of the
Policies and further pursuant ty written assignment by the Prnerpal insured on October 9, 2009, atlached hereto as
Exhibit 1) by cach Insurer based on its quote share pereentage as set forth in Schedule "4." There is no other Loss
Payee oranyone else entitled to the proceeds of the payment according lo the Policy terms and conditions.

the sutd joss did aot oargsitaty by aay get desma ar procurement un the part of eer the Principal insured or
insured. or this aldant, aathing has been dune by on wid the privity or consent of eather the Principal Insared or
 

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Insured, or this affiant, to violate the conditions of the Policies, or render them void; no articles are mentioned herein
or in annexed schedules but such as were destroyed or damaged at the time of said loss; no property saved has in any
manner been concealed, and no attempt to deceive the said Insurers, as to the extent of said loss, has in any manner

been made. Any other information that may be required will be furnished and considered a part of this Proof of
Loss.

The furnishing of this Proof of Loss or the preparation of Prof of Loss by a representative of the Insurers identified
in Schedule “A” is not a waiver of any of their rights, :

The undersigned Principal Insured and Insured cach acknowledge that the adjustment of the loss has not been
completed, and that, in consideration of the Insurers agreeing to consider making an interim payment prior to the
final adjustment of the loss, agrees that payment of any amounts in respect of this Proof of Loss are subject to the
following conditions: (1) any amounts paid in respect of this Proof of Luss ure without prejudice to any of the
Insurers’ nghts under the Policies, and that making of any such payment shall not constitute an admission of liability
ofa waiver of any rights; (2) any amounts paid in respect of this Proof of Loss are not allocated to any particular
category of loss covered under the Policies, and upon adjustment of the loss, the Insurers at their sole discretion will
be entitied to allocate all payments previously made to covered categories of loss; and (3) each Insurer is only
obligated to pay the amount based on its quota share percentage as set forth in Schedule “A” and is not responsible
for the payment of any other Insurer's quota share percentitge.

Any person who knowingly and with intent to defraud any insurance company or other person files a statement of
claim containing any materially false information, or conceals for the purpose of misleading, information concerning
any fact material thereto, commits a fraudulent insurance act, which is a crime. ~~

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State of County of:

 

Princtpal Insured: Sempra Energy and/or Cameron LNG
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By: us! iW Bee Ne te

Name: Wa\\a aye TS ee We»

Title: \] on ae \k ae oN aN

 

 

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Subscribed and sworn to before me this _ fy day of ef 2009.
he £ re
PS. owhaee

(scl) Notary Public ~F. hi ie

 

 

State of “tT As County of AWE 2 LS
Insured: « Kvaerner/[}1f J
By: KD i) Cah Signed by Aker Keaerner | LAI Seu bject to

 

 

AN the coaditiows in leer AKlTHr-TP- oof
Name: S co A. Ray dated Od “NOV OF whieh are Near Pers fed
tite: Buswess (Risk Myuacer nercin by eC feredce,

 

Subscribed and sworn to before me this 9 “4 day or NOVEMREL 29
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one
- MS _
(seal) Notary Public V
—PALLLLLLLLLLL LA LLL LAS

LUISA LUDTKE
NOTARY PUBLIC STATE OF TEXAS
WY COMMSGION EXPIRES

MARCH 14, 2013

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PAPA PLL
 

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SCHEDULE A

SWORN STATEMENT IN PROOF OF LOSS

UNALLOCATED PARTIAL PAYMENT

to

 

 

 

 

 

 

 

 

 

 

 

 

 

Insurers Policy Number % Payment in USD
National Union Fire Insurance Co. of Louisiana ST-260-9712 30% 1,800,000.00
AEGIS Ins. Services, Lid. 10022B1A05 18% 1,080,000.00
Allianz Global Risks US Ins. Co. ATO 3006580 17% 1,020,000.00
Commonwealth Ins, Co. NME1128 12.5% 750,000.00
Navigators Special Risk, Inc. on behalf of: 05-NSRO-1045-01 12.5% 750,000.00
Millennium Syndicate at Lioyd's #1221
Liberty Syndicate at Lloyd’s #4472
Arch Specialty Insurance Co. CAR0009987-00 10% 600,000.00
_ TOTAL 100% USD 6,000,000.00

 

 

 

 

 
 

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c a Maury Ge-fiant
ScHnpld Leroy moe atans

   

October G, 2009

Greg mresswood

Executive General Adjuster

Vice President / Branch Manayer
McLarens Young International
10235 W. Litfle York, Suite 170
Houston, TX 77040-3253

OSS: riuricane The Glan CATHOC
WOocalion: Hackberry, LA

DOL: 97 13/2008

MY File No: 07 O03119 MI

Dear Greg,

Pursuant ‘o General Condition |) af the Builder's Risk Policy for the Cameron LNG
Receiving Terminal. Sempra Enercy, al our cascretion as the designated Loss Payee,
nas decided and hereby directs underwriters that any and all furtner payments under
this policy for claims made against tha pokey by Aker Kvaemern/iHl arising out of the
iaindiall of Hurricane Ike and the resultant damages to the Cameron LNG Facility shall
be paid directly to Aker Kyaerer/fill The claims of Aker KvaernertHl should be
adjusted with Aker Kvaerner ial and Use insurance proceeds checks should be made
payable only to Aker Kyvaernerslei!

Best Regards.

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- ,
Maury Ge Bom
ce: MM. Mareno

K. McDonnell

 
